                    Case 1:06-cr-00292-WKW-SRW Document 123 Filed 02/07/08 Page 1 of 6
  A0 245B (Rev. 06/05) Judgment in a Criminal Case
             Sheet 1



                                       UNITED STATES DISTRICT COURT
                                                                   District of                                ALABAMA

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                    V.
         ASHLEY LACHELL WHITLOCK
                                                                           Case Number:                      1 :06cr292-001 -WKW

                                                                           USM Number:                       12141-002

                                                                           Joseph Van Heest
                                                                           Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       1 of the Indictment on July 26, 2007
o pleaded nob contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                           Offense Ended                Count
21:846                          Conspiracy to Manufacture, Possess With Intent to Distribute                2/26/2007                       1




       The defendant is sentenced as provided in pages 2 through                  6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
oThe defendant has been found not guilty on count(s) ________________________________________________________________
o Count(s) ______________________________ 0 is 0 are dismissed on the motion of the United States.

         It is ordered that the defendant must noti1' the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notif' the court and United States attorney of material changes in economic circumstances.

                                                                           January 30. 2008
                                                                           Date of imposition of Jud men>
                                                                           /14/

                                                                           Signature of




                                                                           W. KEITH WATKINS. UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge


                                                                            d'
                                                                           Date
                                                                                          7Q
                     Case 1:06-cr-00292-WKW-SRW Document 123 Filed 02/07/08 Page 2 of 6
AO 245B      (Rev. 06/05) Judgment in Cnminal Case
             Sheet 2— Imprisonment
                                                                                                   Judgment—Page      2   of   6
DEFENDANT:                     ASHLEY LACHELL WHITLOCK
CASE NUMBER:                   1:06cr292-OO1-WKW


                                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


            32 Months



    XThe court makes the following recommendations to the Bureau of Prisons:

          The Court recommends that defendant be designated to a facility where intensive drug treatment and vocational training
          are available.


    XThe defendant is remanded to the custody of the United States Marshal.

     DThe defendant shall surrender to the United States Marshal for this district:
          oat _____________________ 0 a.m. 0 p.m. on ______________________________
          o as notified by the United States Marshal.

     OThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before 2 p.m. on
          o as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendantdelivered on ______________________________________ to _________________________________________

at__________________________________ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                        By
                                                                                            DEPUTY UNITED STATES MARSHAL
                      Case 1:06-cr-00292-WKW-SRW Document 123 Filed 02/07/08 Page 3 of 6
AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                           Judgment—Page       3     of        6
DEFENDANT:                    ASHLEY LACHELL WHITLOCK
CASE NUMBER:                  1:06cr292-O01-WKW
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

5 Years



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
0 The above drugtesting condition is suspended, based on the court's determination that the defendant poses a low risk of
    future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
D The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
    student, as directed by the probation officer. (Check, if applicable.)
O The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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A0 245B   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                       Judgment—Page   4   of      6
DEFENDANT:                ASHLEY LACHELL WHITLOCK
CASE NUMBER:              1 :06cr292-OO1-WKW

                                        SPECIAL CONDITIONS OF SUPERVISION

Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
may include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost
of any treatment based on ability to pay and the availability of third-party payments.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
court.
Defendant shall complete the educational requirements necessary to complete her GED.
                    Case 1:06-cr-00292-WKW-SRW Document 123 Filed 02/07/08 Page 5 of 6
AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5—Criminal Monetary Penalties
                                                                                                    Judgment - Page       5     of        6
DEFENDANT:                         ASHLEY LACHELL WHITLOCK
CASE NUMBER:                       1 :06cr292-001 -WKW
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       Fine                                 Restitution
TOTALS             $ 100.00                                        $                                      $ 3,000.00


o The determination of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                    Restitution Ordered                     Priority or Percentage
Alabama Crime Victim's                                                                      $1950.00
Compensation Commission
ATFN: Collette Gray
P. 0. Box 231267
Montgomery, AL 36123-1267

Alabama Department of                                                                         $1050.00
Mental Health and
Mental Retardation
ATTN: Kathleen Brantley
P. 0. Box 301410
Montgomery, AL 36130-1410




TOTALS                               $                         0          $                        3000


0 Restitution amount ordered pursuant to plea agreement $

o The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
  to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     X the interest requirement is waived for the 0 fine X restitution.

      0 the interest requirement for the 0 fine 0 restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments
                                                                                                          Judgment - Page     6     of       6
DEFENDANT:                  ASHLEY LACHELL WHITLOCK
CASE NUMBER:                1 :06cr292-00 I -WKW


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A x Lump sum payment of $ 3,100.00                           due immediately, balance due

           0 not later than ___________________________ , or
           x in accordance          0       0 C,       D,
                                                    0 E, or X F below; or
B 0 Payment to begin immediately (may be combined with                   0 C,        0 D, or 0 F below); or

C 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
       ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
          ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E 0 Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F X Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama,
           P.O. Box 711, Montgomery, AL 36101.
           Any balance remaining at the start of supervision shall be paid at the rate of not less than $50.00 per month to begin 60 days after
           release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0 Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0 The defendant shall pay the cost of prosecution.

0 The defendant shall pay the following court cost(s):

0 The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
